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                         IN THE UNITED STATES DISTRICT COURT                             -     "     ^   ^
                        FOR THE EASTERN DISTRICT OF VIRGINIA                             ...       .          .
                                                                      >■    — . ;   r.   — .       : .   •'

                                        Alexandria Division

 UNITED STATES OF AMERICA,                         )
                                                   )
         V.                                        )           No. 1:19MJ
                                                   )
 CHARLES J. ORRICO,                                )
                                                   )           Court Date: June 3, 2019
                                                   )
         Defendant.                                )

                                   CRIMINAL INFORMATION

                                      (Misdemeanor 7517599)

THE UNITED STATES ATTORNEY CHARGES THAT:

        On or about April 26,2019, at Fort Belvoir, Virginia, within the special maritime and

territorial jurisdiction of the United States in the Eastern District of Virginia, the defendant,

CHARLES J. ORRICO, did unlawfully steal, purloin, or knowingly convert to her use or the use

of another, property ofthe United States or any department or agency thereof, specifically:

alcoholic beverages, the property ofthe United States Army and Air Force Exchange Service,

said property having a value of less than One Thousand Dollars ($1,000).

(In violation ofTitle 18, United States Code, Section 641)

                                               Respectfully submitted,

                                               G. ZacharyTerwilliger
                                               United States Attorney

                                       By:
                                               Amanda Williams
                                               Special Assistant United States Attorney
                                               United States Attomey's Office
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